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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 BAY AREA UNITARIAN                                  §
 UNIVERSALIST CHURCH; et al.                         §
                                                     §
                    Plaintiffs,                      §
 v.                                                  §    Civil Action No. 4:20-cv-3081
                                                     §
 KEN PAXTON, Attorney General for the                §
 State of Texas, in his official capacity, et al.    §
                                                     §
                   Defendants.                       §

         DEFENDANT TROY FINNER’S DESIGNATION OF EXPERT WITNESSES

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant City of Houston, sued through Chief of Police, Troy Finner, in his Official

Capacity, (“Houston”), files this Designation of Expert Witnesses pursuant to Rule 26, Federal

Rules of Civil Procedure, and the Court’s Scheduling Order (Doc. 126):

1.      Houston designates the following witness(es) under Rule 26(a)(2)(B), Federal Rules of

Civil Procedure, who may testify at trial:

        None at this time. In the event that new or substantially different allegations are raised, or
        Plaintiffs move for and are granted leave to designate supplemental experts, and timely
        provide required disclosures, Houston reserves the right to supplement their Rule
        26(a)(2)(B) expert designations.

2.      Houston may offer expert testimony from the following persons employed by the City of

Houston. These employees are not specially employed to provide expert testimony in this case

and their duties do not regularly involve giving expert testimony. Therefore, no report is required

from these employees under the Federal Rules of Civil Procedure:

        1)     Y. Bashir, Assistant Chief, (or current Assistant Chief), Patrol Region 3 Command,
               Houston Police Department.
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       2)      R. T. Hardy, Commander, (or current Commander), Patrol Region 3, Westside
               Division, Patrol Region 3, Houston Police Department.

       3)      E. Garcia, III, Assistant Chief, (or current Assistant Chief), Special Investigations
               Command, Houston Police Department.

       4)      P. Y. Cantu, Assistant Chief, (or current Assistant Chief), Patrol Region 2
               Command, Houston Police Department.

       5)      T. E. Hardin, Assistant Chief, (or current Assistant Chief), Patrol Region 1
               Command.

       6)      A. Guzman, Jr., Commander, (or current Commander), Central Division, Patrol
               Region 1 Command, District 1 and 2.

       7)      M. W. Martin, Commander, (or current Commander), Southeast Division, Patrol 2
               Region Command.

       8)      B. T. Tien, Assistant Chief, (or current Assistant Chief), Patrol Region 1 Command.

       9)      N. Q. Nguyen, Commander, (or current Commander), Northwest Division, Patrol
               Region 3 Command.

       10)     C. T. Hatcher, Assistant Chief, (or current Assistant Chief), Organizational
               Development Command, Houston Police Department.

       11)     C. H. Belhamy, Commander, (or current Commander), Training, Organizational
               Development Command, Houston Police Department.

       12)     J. A. Halliday, Commander, (or current Commander), Criminal Investigations
               Command, Major Assaults & Family Violence, Houston Police Department.

       13)     R. J. Borza, Commander, (or current Commander), Major Offenders, Special
               investigations Command, Houston Police Department.

       14)     D. E. Crawford, Commander, (or current Commander), Internal Affairs Division,
               Houston Police Department.

       15)     S. Q. Zia, Commander, (or current Commander), Property and Financial Crime.

       16)     T. R. Guinn-Shaver, Commander, (or current Commander), Robbery, Property and
               Financial Crimes.

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with HPD, authority of peace officers to act
in various situations, as well as their personal knowledge, if any, of matters relating to Plaintiffs’
lawsuit. These witnesses may offer opinions regarding the policies and procedures of HPD from
May 2017 through present, the lack of specific enforcement duties regarding the challenged



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statutory provisions, and may offer opinions regarding the constitutionally sufficient training,
supervision, and discipline of HPD police officers, and that Houston has acted pursuant to same.
See COH_BAY AREA_000001-000159, and any supplemental production/disclosures by
Houston.

       17)     Commander Isaac J. Duplechain, (or current Commander), Risk Management,
               Organizational Development Command, Houston Police Department, 1200 Travis,
               Houston, Texas 77002 (c/o Melissa Azadeh 832-393-6270).

In addition to the subject matter described above, witness may testify regarding Houston officers’
trainings, HPD policies and procedures (if any) from May 2017 through trial related to trespass,
including but not limited to when the trespasser is armed; any Houston policies and procedures for
responding to calls for trespass; policies and procedures related to standards for making an arrest;
HPD policies and procedures, regarding Texas Penal Code §§ 30.05, 30.06. 30.07, if any; and may
offer testimony and opinions regarding the lack of specific enforcement duties regarding the
Plaintiffs’ challenged statutory provisions; that pursuant to state law and HPD policy and
procedure, Houston and its officers are without discretion to enforce the challenged statutory
provisions.         See COH_BAY AREA_000001-000159, and any supplemental
production/disclosures by Houston.

       18)     Mike Bell, Chief Technology Officer, Houston Police Department, 1200 Travis,
               Houston, Texas 77002 (c/o Melissa Azadeh 832-393-6270).

Chief Technology Officer for HPD, may testify about his background, education, training,
employment history, job duties and responsibilities with the HPD, as well as the file systems and
other technological components maintained by HPD, methods and practices concerning record
retention and collection or as a custodian of records for HPD; regarding authenticity of any
document/files, and may offer opinions regarding the authenticity of any files, and addressing any
allegations of fabrication or alteration of information, if any.

       19)     Romero, M.A., police officer
               COH_BAY AREA_000128-000131, Offense Report #944127-18

       20)     Flores, D., police officer
               COH_BAY AREA_000132-000136, Offense Report #1603946-19

       21)     Araiza, R. M., police officer
               COH_BAY AREA_000137-000140, Offense Report #952692-20

       22)     Ramirez, A. R., police officer
               COH_BAY AREA_000141-000147, Offense Report #1356055-21

       23)     Deliphose, S. J., police officer
               COH_BAY AREA_000148-000151, Offense Report #1469277-21

       24)     Laster, W. E., police officer
               COH_BAY AREA_000148-000151, Offense Report #1469277-21


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       25)     Morrow, B. A., Police Officer
               COH_BAY AREA_000152-000156, Offense Report #1616735-21

       26)     Any and all officers involved in any offense report or call for service for which
               records are produced by Houston in response to discovery or disclosures.

               Houston Police Department
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

[19-26] In addition to the subject matter described above [1-16], these witnesses may testify
regarding their personal knowledge of the incidents to which they responded at Plaintiffs’
locations, as labeled above, and as custodians of the offense reports they prepared during the
ordinary course of business pursuant to HPD policy and procedure. They may offer opinions
regarding the constitutionally sufficient policies, procedures, training, supervision, and discipline
of HPD police officers, and that Houston has acted pursuant to same. See COH_BAY
AREA_000001-000159, and any supplemental production/disclosures by Houston.

       27)     P. Y. Cantu, Assistant Chief, (or current Assistant Chief), Patrol Region 2
               Command, Houston Police Department.

       28)     C. A. Smith, Commander, (or current Commander), Clearlake Division, Patrol
               Regional 2, Command.

       29)     Juan Perales, Lieutenant, Clear Lake Division, Patrol Regional 2 Command.

       30)     Jason Giuffre, Lieutenant, Clear Lake Division, Patrol Regional 2 Command.

               Houston Police Department
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

[27-30] In addition to the matters described above [1-16], these witnesses may testify regarding
the territorial jurisdiction of Houston’s police department and that Houston police do not respond
to calls for service at the location of Plaintiff Bay Area Unitarian Universalist Church, and the
boundaries of HPD’s District 12, 2855 Bay Area Blvd, including the contents of
https://www.houstontx.gov/police/pdfs/hpd_beat_map.pdf, prepared by Crime Analysis and
Command Center, GIS UNIT, and HPD Beats & Boundaries Guide, June 2020,
https://www.houstontx.gov/police/department_reports/Beat_BoundaryGuide.pdf See COH_BAY
AREA_000160-000473. They may testify regarding specific incident reports or responses to calls
for service related to Plaintiff(s) or their businesses, if any. See COH_BAY AREA_000001-
000159, and any supplemental production/disclosures by Houston.

       31)     M. W. Martin, Assistant Chief, (or current Assistant Chief), Support Services
               Command.



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       32)     M. B. May, Commander, (or current Commander), Crime analysis and command
               center, Support Services Command.

       33)     E R Lorenzana,         Commander,       (or   current   Commander),      Emergency
               Communications.

               Houston Police Department &
               Houston Emergency Center
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

In addition to the matters described above [1-16], these witnesses may testify regarding non-
emergency and emergency responses to trespass calls within the past five years. These witnesses
may testify regarding geospatial data utilized to assist patrol, investigative and support divisions
throughout HPD; Crime Analysis, which conducts statistical and analytical research on anti-crime
programs and provides analysis concerning crime patterns and trends to department units and other
law enforcement agencies; Real Time Crime Center, which serves as HPD’s operations center, and
may testify regarding HPD Patrol Regions and District Maps boundaries and services areas,
including        the       contents         of       including          the       contents        of
https://www.houstontx.gov/police/pdfs/hpd_beat_map.pdf, prepared by Crime Analysis and
Command Center, GIS UNIT, and HPD Beats & Boundaries Guide, June 2020,
https://www.houstontx.gov/police/department_reports/Beat_BoundaryGuide.pdf.                      See
COH_BAY AREA_000160-000473.                See COH_BAY AREA_000001-000159, and any
supplemental production/disclosures by Houston.

       34)     E R Lorenzana,         Commander,       (or   current   Commander),      Emergency
               Communications.

       35)     Robert Mock, Director, Houston Emergency Center.

       36)     Joe Laud, Administration Manager, Houston Emergency Center.

               Houston Police Department &
               Houston Emergency Center
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

Consolidated agency responsible for all Houston 9-1-1 emergency communications, emergency
calls and emergency dispatchers from the Houston Police and Fire Departments. In addition to the
matters described above [1-16] these witnesses may testify regarding receipt, processing, of
emergency calls and dispatch from the Houston Police and Fire Departments; areas of service
covered by Houston Police and Fire Departments, and Plaintiff Bay Area’s location outside
Houston’s service area for any emergency or police services; and regarding the City’s Computer
Aided Dispatch system. See COH_BAY AREA_000001-000159, and any supplemental
production/disclosures by Houston.




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       37)     Vernita Jones, Administrative Manager and Custodian of Records, City of Houston
               Planning and Development.

       38)     Laura Newell, Administrator and Custodian of Records, City of Houston Planning
               and Development.

       39)     Council Member Robert Gallegos, District 1 E.

               City of Houston
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

These witnesses may testify as custodians of records for Houston, regarding their qualifications,
training, duties and responsibilities, and regarding the territorial boundaries of various City
Council       districts   and       service     areas     of      Houston,      available      at
https://www.houstontx.gov/council/maps.html. See COH_BAY AREA_000160-000473, and any
supplemental discovery or disclosures produced by Houston.

3.     The following witnesses have been listed and designated as persons with knowledge of

relevant facts. These persons are not retained experts but may testify about issues to be addressed

and/or addressed in their testimony. These witnesses possess knowledge of the events at issue in

this case and expertise the result of their work experience, education and/or training. These

witnesses are not being paid as experts and as such, are treated as ordinary witnesses for purposes

of discovery. Houston reserves the right to elicit opinion testimony from any of the following

witnesses in their particular expertise:

       1)      Romero, M.A., police officer
               COH_BAY AREA_000128-000131, Offense Report #944127-18

       2)      Flores, D., police officer
               COH_BAY AREA_000132-000136, Offense Report #1603946-19

       3)      Araiza, R. M., police officer
               COH_BAY AREA_000137-000140, Offense Report #952692-20

       4)      Ramirez, A. R., police officer
               COH_BAY AREA_000141-000147, Offense Report #1356055-21

       5)      Deliphose, S. J., police officer
               COH_BAY AREA_000148-000151, Offense Report #1469277-21



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       6)      Laster, W. E., police officer
               COH_BAY AREA_000148-000151, Offense Report #1469277-21

       7)      Morrow, B. A., Police Officer
               COH_BAY AREA_000152-000156, Offense Report #1616735-21

       8)      Any and all officers involved in any offense report or call for service for which
               records are produced by Houston in response to discovery or disclosures.

               Houston Police Department &
               Houston Emergency Center
               c/o Melissa Azadeh, City of Houston Legal Department
               832-393-6270

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with HPD, authority of peace officers to act
in various situations, as well as their personal knowledge of the incidents to which they responded
at Plaintiffs’ locations, as labeled above, and as custodians of the offense reports they prepared
during the ordinary course of business pursuant to HPD policy and procedure. These witnesses
may offer opinions regarding the policies and procedures of HPD at the time in question; that
Houston officers do not require any signage in order to respond to trespass calls for service; and
may offer opinions regarding the constitutionally sufficient training, supervision, and discipline of
HPD police officers, and that Houston has acted pursuant to same. See COH_BAY
AREA_000001-000159, and any supplemental production/disclosures by Houston.

       9)      Harris County District Attorney Kim Ogg, and Custodian of Records
               Harris County District Attorney’s Office
               500 Jefferson St., Ste 600
               Houston, Texas 77002-7368
               c/o Heena Kepadia
               Harris County Attorney’s Office

District Attorney’s office responsible for accepting charges within Harris County in order for
Houston officers to arrest suspects under the challenged statutes. These witnesses may testify
about their background, education, training, employment history, job duties and responsibilities in
their respective positions, authority and discretion of the district attorney’s office; duties and
authority/lack of authority of peace officers with regards to making arrests and charging decisions;
as well as their personal knowledge, if any, of matters relating to Plaintiff’s lawsuit. These
witnesses may offer opinions regarding the actions of Defendants, if any; or the lack of discretion
or involvement in various enforcement of the challenged statutes, including bringing, accepting,
and prosecuting criminal charges, and as custodian of records for the office.

       10)     Harris County Sheriff’s Office
               Sheriff Ed Gonzalez
               1200 Baker Street
               Houston, Texas 77002


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               346-286-1600
               c/o Heena Kepadia
               Harris County Attorney’s Office

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions, authority and discretion of the district
attorney’s office; duties and authority/lack of authority of peace officers with regards to making
arrests and charging decisions; as well as their personal knowledge, if any, of matters relating to
Plaintiff’s lawsuit. These witnesses may offer opinions regarding the actions of Defendants, if
any; or the lack of discretion or involvement in various enforcement of the challenged statutes,
including bringing, accepting, and prosecuting criminal charges.

       11)     Custodian of Records, Harris County Central Appraisal District (CAD)

Testimony regarding various CAD jurisdictions, boundaries, custodian of records for GIS and
other maps.

       12)     Harris County Sheriff’s Office
               Sheriff Ed Gonzalez
               1200 Baker Street
               Houston, Texas 77002
               c/o Heena Kepadia
               Harris County Attorney’s Office

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with HCSO, authority of peace officers to
act in various situations, as well as their personal knowledge, if any, of matters relating to
Plaintiffs’ lawsuit. These witnesses may offer opinions regarding the policies and procedures of
HCSO at the time in question, lack of specific enforcement duties regarding the challenged
statutory provisions, the general duty of police officers to enforce the criminal laws of Texas; that
HCSO and its officers do not require any signage in order to respond to trespass calls for service;
that Plaintiffs have not been denied police assistance by HCSO based on the challenged statutory
provisions or otherwise, that pursuant to state law and HCSO policy and procedure, HCSO and its
deputies are without discretion to enforce the challenged statutory provisions; and may offer
opinions regarding the constitutionally sufficient training, supervision, and discipline of HCSO
deputies, and that HCSO has acted pursuant to same.

       13)     City of Webster Chief of Police, Pete Bacon, and Custodian of Records
               Webster Police Department
               c/o William Helfand, Justin Pfeiffer
               Lewis Brisbois

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with Webster Police Department (WPD),
authority of peace officers to act in various situations, as well as their personal knowledge, if any,
of matters relating to Plaintiffs’ lawsuit. These witnesses may offer opinions regarding the policies



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and procedures of WPD at the time in question, lack of specific enforcement duties regarding the
challenged statutory provisions, the general duty of police officers to enforce the criminal laws of
Texas; that Webster and its officers do not require any signage in order to respond to trespass calls
for service; that Plaintiffs have not been denied police assistance by Webster’s police department
based on the challenged statutory provisions or otherwise, that pursuant to state law and WPD
policy and procedure, Webster and its officers are without discretion to enforce the challenged
statutory provisions; and may offer opinions regarding the constitutionally sufficient training,
supervision, and discipline of WPD police officers, and that Webster has acted pursuant to same.
These witnesses may testify regarding the territorial boundaries of areas serviced by WPD, and
that WPD responds to calls for service at the location of Plaintiff BAUUC.

       14)     City of Webster, Texas, City Council members and custodian of records
       15)     City of Webster, Texas, Planning Department
       16)     City of Webster, Texas, Webster Police Maps Department
               City of Webster
               101 Pennsylvania Avenue
               Webster, TX 77598
               Phone: 281-332-1826

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with the City of Webster. They may testify
as custodians of records, and regarding the contents of Webster Police Department maps, available
at: https://webster.maps.arcgis.com/apps/dashboards/abb5568ba5584f3c96b09ff56e218f18; and
bates labeled COH_BAY AREA_000162-165 and COH_BAY AREA_000518-000520.

       17)     Texas Alcoholic Beverage Commission and Custodian of Records
               P.O. Box 13127, Austin, TX 78711
               5806 Mesa Drive, Austin, TX 78731

These witnesses may testify about their background, education, training, employment history, job
duties and responsibilities in their respective positions with TABC. They may testify as custodians
of records, and regarding TABC regulations and signage requirements, as well as the Plaintiffs’
licensing and compliance with same. These witnesses may testify about the sign requirements and
regulations available at: https://www.tabc.texas.gov/texas-alcohol-laws-regulations/sign-
requirements/. See COH_BAY AREA_000474-000517.

4.     Houston reserves the right to elicit testimony from any and all persons or witnesses

designated or to be called by Plaintiffs or other Defendants in this case. Houston reserves the right

to offer at trial, from any person or fact witness designated by Plaintiffs or other Defendants with

the express understanding that Houston does not necessarily vouch for the credibility,




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qualifications, or proper designation of any such witnesses, nor does Houston waive any

anticipated motion to strike Plaintiffs’ expert designations.

5.     If Plaintiffs are permitted to offer expert or other testimony or evidence not timely and fully

disclosed, Houston reserves the right to supplement with responsive expert designations and

evidence, including retained expert reports.

6.     Houston reserves the right to supplement and amend this designation and/or discoverable

information up to the date of trial, including by de-designating any of the above disclosed

witnesses.

7.     Houston reserves the right to call rebuttal witnesses.

                                      Respectfully submitted,

                                      ARTURO G. MICHEL
                                      City Attorney

                                      KELLY DEMPSEY
                                      Section Chief Torts/Civil Rights

                               By:    /s/ Melissa Azadeh
                                      MELISSA AZADEH
                                      Texas Bar No. 24064851
                                      Senior Assistant City Attorney
                                      City of Houston Legal Department
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                                      Houston, Texas 77002
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                                      melissa.azadeh@houstontx.gov

                                      ATTORNEYS FOR DEFENDANT CITY OF
                                      HOUSTON SUED THROUGH CHIEF OF POLICE
                                      TROY FINNER, IN HIS OFFICIAL CAPACITY




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of August 2022, a true and correct copy of the foregoing

document was duly served upon each party to this cause by electronically filing same with the

District CM/ECF system, and/or alternatively by e-mail or facsimile transmission, to:

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DA Kim Ogg, County Attorney Vince Ryan,
County Sheriff Ed Gonzalez                                   Attorneys for Defendants, City of
                                                             Webster through Acting Chief Pete
                                                             Bacon

                                              /s/ Melissa Azadeh
                                              Melissa Azadeh




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